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                         HEARING DATE AND TIME: June 29, 2018, at 10:00 a.m. (prevailing Eastern Time)
                            OBJECTION DEADLINE: June 28, 2018, at 4:00 p.m. (prevailing Eastern Time)


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Counsel for the Reorganized Debtors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

----------------------------------------------------------------x
In re:                                                           :      Chapter 11
                                                                 :
CUMULUS MEDIA INC., et al.,                                      :      Case No. 17-13381 (SCC)
                                                                 :
                  Reorganized Debtors. 1                         :      (Jointly Administered)
                                                                 :
----------------------------------------------------------------x

             REORGANIZED DEBTORS’ MOTION FOR ENTRY OF AN ORDER
    (I) CHANGING THE CASE CAPTION OF THE LEAD CASE; (II) CONSOLIDATING
     THE ADMINISTRATION OF THE REMAINING MATTERS AT THE LEAD CASE;
         (III) ENTERING A FINAL DECREE CLOSING THE SUBSIDIARY CASES;
                       AND (IV) GRANTING RELATED RELIEF


         Cumulus Media Inc. (n/k/a CM Wind Down Topco Inc.) and its affiliates in the above-

captioned chapter 11 cases (collectively, the “Debtors” and, as reorganized on and after June 4,

2018, the “Reorganized Debtors”), hereby submit this motion (the “Motion”), pursuant to

1
    The last four digits of Cumulus Media Inc.’s (n/k/a CM Wind Down Topco Inc.) tax identification number are
    9663. Due to the large number of Reorganized Debtors in these Chapter 11 cases, for which the Reorganized
    Debtors have been granted joint administration, a complete list of the Reorganized Debtors and the last four
    digits of their federal tax identification numbers is not provided herein. A complete list of such information may
    be obtained on the website of the Voting and Claims Agent at http://dm.epiq11.com/cumulus. The location of
    the Reorganized Debtors’ service address is: 3280 Peachtree Road, N.W., Suite 2200, Atlanta, Georgia 30305.
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sections 105(a) and 350(a) of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 3022 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule

3022-1 of the Local Bankruptcy Rules for the Southern District of New York (the “Local

Rules”), for entry of an order, substantially in the form attached hereto as Exhibit A (the

“Proposed Order”): (i) changing the case caption of the Lead Case (as defined below) to CM

Wind Down Topco Inc.; (ii) consolidating the administration of Outstanding Claims (as defined

below) and other Remaining Matters (as defined below) at the Lead Case; (iii) entering a final

decree closing the Subsidiary Cases (as defined below); and (iv) granting related relief. In

further support of this Motion, the Reorganized Debtors respectfully state as follows:

                                 JURISDICTION AND VENUE

       1.      The United States Bankruptcy Court for the Southern District of New York (the

“Court”) has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the

Standing Order of Reference M-431, dated January 31, 2012 (Preska, C.J.) from the United

States District Court for the Southern District of New York. The Reorganized Debtors confirm

their consent, pursuant to Bankruptcy Rule 7008, to the entry of a final order by the Court in

connection with this Motion to the extent that it is later determined that the Court, absent consent

of the parties, cannot enter final orders or judgments in connection herewith consistent with

Article III of the United States Constitution.

       2.      Venue is proper pursuant to 28 U.S.C. §§1408 and 1409. This matter is a core

proceeding pursuant to 28 U.S.C. § 157(b).

       3.      The statutory bases for the relief requested herein are sections 105(a) and 350(a)

of the Bankruptcy Code, Bankruptcy Rule 3022 and Local Rule 3022-1.




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                                               BACKGROUND

         4.       On November 29, 2017, each of the Debtors filed voluntary petitions for relief

under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”).

         5.       On May 10, 2018, the Court entered its Findings of Fact, Conclusions of Law,

and Order Confirming the Debtors’ First Amended Joint Chapter 11 Plan of Reorganization

[ECF No. 769] (the “Confirmation Order”) confirming the First Amended Joint Plan of

Reorganization of Cumulus Media Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the

Bankruptcy Code [ECF No. 446] (the ”Plan”). 2

         6.       On June 4, 2018, the Effective Date under the Plan occurred, the Plan was

substantially consummated, and the Debtors emerged from chapter 11. See Notice of (I) Entry of

Order Confirming the Debtors’ First Amended Joint Chapter 11 Plan of Reorganization, (II)

Occurrence of Effective Date, and (III) Certain Bar Dates [ECF No. 821].

                                           RELIEF REQUESTED

         7.       By this Motion, the Reorganized Debtors seek authority to implement certain

changes to conform the Chapter 11 Cases with the Reorganized Debtors’ post-emergence

corporate structure and other Effective Date and post-Effective Date transactions consummated

under the Plan. Specifically, the Reorganized Debtors request authority to change the case

caption of the Lead Case to reflect the new corporate name of the Lead Debtor (as defined

below) resulting from the corporate transactions authorized under the Plan. The Reorganized

Debtors also request authority to consolidate the administration of all Outstanding Claims and

other Remaining Matters at the Lead Debtor in the Lead Case, appoint CM Emergence Newco

Inc. (n/k/a Cumulus Media Inc.) as the Disbursing Agent for the administration of such Claims



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    Capitalized terms used but not otherwise defined herein have the meaning ascribed to them in the Plan.
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and other matters, and enter a final decree closing the Chapter 11 Cases of the Subsidiary

Debtors.

       A.      The Restructuring Transactions Authorized by the Plan

       8.      In connection with emergence, the Reorganized Debtors implemented the

Restructuring Transactions authorized by Article IV.F of the Plan and as set forth in, among

other things, the Description of Transaction Steps. The Restructuring Transactions included,

among other things, “all transactions necessary to provide for the purchase of substantially all of

the assets of, or Interests in, any of the Debtors by Reorganized Cumulus or one or more Entities

… wholly-owned by Reorganized Cumulus.” Accordingly, at emergence from chapter 11, each

of Cumulus Media Inc. (n/k/a CM Wind Down Topco Inc.) and Cumulus Media Holdings Inc.

transferred substantially all of their assets to Cumulus Media New Holdings Inc. (f/k/a CM

Emergence Holdings Inc.), an entity formed on April 9, 2018 by a duly authorized representative

of holders of the Credit Agreement Claims in accordance with the Plan (such transfers, the

“Asset Transfers”) pursuant to an Equity and Asset Transfer Agreement, dated as of the

Effective Date (the “Transfer Agreement”).

       9.      After the Asset Transfers were consummated pursuant to the Transfer Agreement

and in accordance with the Plan, the following occurred on the Effective Date in the following

order: (a) Reorganized Debtor Cumulus Media Inc. changed its name to CM Wind Down Topco

Inc. by the filing of its Fourth Amended and Restated Certificate of Incorporation with the

Secretary of State of the State of Delaware, and (b) CM Emergence Newco Inc., an entity formed

in accordance with the Plan, changed its name to Cumulus Media Inc. by the filing of its

Amended and Restated Certificate of Incorporation with the Secretary of State of the State of




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Delaware. Reorganized Debtor Cumulus Media Holdings Inc. retained its name and remains as the

only subsidiary of CM Wind Down Topco Inc. (f/k/a Cumulus Media Inc.).

        B.       Changing the Caption of the Lead Case to CM Wind Down Topco Inc.

        10.      On December 1, 2017, this Court entered the Order Directing Joint

Administration of Related Chapter 11 Cases [ECF No. 40] (the “Joint Administration Order”)

pursuant to which the above-captioned Chapter 11 Cases (a) were consolidated for procedural

purposes only and (b) are being jointly administered under the lead case of Cumulus Media Inc.

(n/k/a CM Wind Down Topco Inc.) Case No. 17-13381 (SCC) (the “Lead Case,” and CM Wind

Down Topco Inc., the “Lead Debtor”). As noted above, Cumulus Media Inc.’s corporate name is

now CM Wind Down Topco Inc. Accordingly, the Reorganized Debtors request that the caption

for the Lead Case be changed as follows to reflect this name change:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                          :   Chapter 11
                                                                :
CM WIND DOWN TOPCO INC.                                         :
                                                                :   Case No. 17-13381 (SCC)
                  Reorganized Debtor.1                          :
                                                                :
----------------------------------------------------------------x

FN1: The last four digits of the Reorganized Debtor’s tax identification number is 9663. The location of the
Reorganized Debtor’s service address is: 3280 Peachtree Road, N.W., Suite 2200, Atlanta, Georgia 30305.

        11.      The Reorganized Debtors also request that the Court authorize the Clerk of the

United States Bankruptcy Court for the Southern District of New York (the “Clerk”) and other

relevant parties to take whatever actions are necessary to update the ECF filing system and their

respective records to reflect the above name change, including the insertion of a docket entry in

Cumulus Media Inc.’s Chapter 11 Case as follows:


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         “An order has been entered in this case directing that the caption of this case be changed
         in accordance with the corporate name change of Cumulus Media Inc. to CM Wind
         Down Topco Inc.”

         12.    Other than the change of the Lead Case to reflect the new name, the other relief

granted in the Joint Administration Order is unaffected. Among other things, the Clerk should

continue to maintain the same single consolidated docket, one file, and one consolidated service

list for the Chapter 11 Cases.

         C.     Consolidating the Administration of Outstanding Claims at the Lead Case
                and with the Lead Debtor

         13.    The Plan was substantially consummated on the Effective Date. Specifically, the

Reorganized Debtors have distributed, or caused to be distributed, substantially all of the New

Securities that are distributable to Holders of Allowed Claims under the Plan, entered into the

First Lien Exit Facility, and effectuated the Restructuring Transactions authorized under the

Plan. As a result, there are very few items left to administer in connection with the Chapter 11

Cases.    These limited items include, most notably (a) the reconciliation, allowance and

distribution on account of Allowed Convenience Claims (which will be entitled to receive, in the

aggregate, up to $2.5 million in Cash); (b) the reconciliation of General Unsecured Claims, and

the allowance and distribution on account of Allowed General Unsecured Claims, which will

receive, in the aggregate, less than 0.4% of the aggregate amount of New Securities that are

distributable under the Plan and which will be distributed from the Unsecured Creditor Disputed

Claim Reserve (as defined in the Confirmation Order) and allocated among such Holders in

accordance with paragraph 74 of the Confirmation Order; (c) addressing the final fee

applications of the retained Professionals (the “Fee Applications”); and (d) certain other

miscellaneous administrative tasks associated with the Chapter 11 Cases.



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        14.     Accordingly, for the sake of administrative convenience and efficiency, the

Reorganized Debtors request authority to have all Claims (including Administrative Claims and

Priority Tax Claims) that have been Filed against the Debtors (the “Outstanding Claims”), Fee

Applications and any other miscellaneous motions, applications, pleadings, or other matters or

proceedings that may arise from time to time in respect of the Chapter 11 Cases (collectively, the

“Remaining Matters”) consolidated and transferred to the Lead Case for administration and, with

respect to Outstanding Claims, transferred to the Lead Case for final distribution. Thereafter, in

accordance with the Plan, the Reorganized Debtors will appoint CM Emergence Newco Inc.

(n/k/a Cumulus Media Inc.) as the Disbursing Agent under the Plan.             Consolidating the

administration of the Remaining Matters at the Lead Case will enable the Reorganized Debtors

to close the Chapter 11 Cases of the Subsidiary Debtors, thereby increasing administrative

efficiency, reducing administrative costs and burden, and providing the Reorganized Debtors

with the full benefit of a “fresh start” upon emergence.

        15.     This relief will not affect the Holders of the Outstanding Claims. Pursuant to the

Plan and the Confirmation Order, Holders of Allowed General Unsecured Claims and Allowed

Convenience Claims each share in separate consolidated sources of distributions under the Plan

and the amount of such distributions does not depend on the Debtor against which the Claim is

asserted.     Similarly, the Plan and Confirmation Order provide that Holders of Allowed

Administrative Claims and Holders of Allowed Priority Tax Claims shall be paid in full

regardless of which Debtor the Claim is asserted against.        Accordingly, no Holder of an

Outstanding Claim will be prejudiced by the administrative transfer of such Claims to the Lead

Case.




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          16.   The Reorganized Debtors expect only minimal activities will occur in these

Chapter 11 Cases going forward, and very few, if any, activities relating specifically to the

Subsidiary Debtors.     The Reorganized Debtors have approximately 475 disputed General

Unsecured Claims that they are in process of reviewing and that may be subject to potential

objections. Additionally, the Fee Applications remain outstanding, and a hearing on final Fee

Applications will take place in August 2018. Finally, although the Reorganized Debtors do not

anticipate any further contested matters in these Chapter 11 Cases, it is possible that

miscellaneous motions, applications, pleadings, or other matters or proceedings may arise from

time to time in respect of the Chapter 11 Cases. The Remaining Matters can be addressed in the

Lead Case and at the Lead Debtor. Consistent with the Joint Administration Order, any bar dates

or other deadlines applicable to each Debtor Estate will be transferred and applicable to the Lead

Debtor in the Lead Case.       As a result, creditors and other stakeholders are unaffected by

consolidating the Remaining Matters, and administration of the Outstanding Claims, as requested

herein.

          D.    Entry of Final Decrees Closing the Subsidiary Debtor Cases

          17.   Finally, subject to the grant of relief requested herein, pursuant to section 350(a)

of the Bankruptcy Code, Bankruptcy Rule 3022, and Local Rule 3022-1, the Reorganized

Debtors seek a final decree closing all other pending Chapter 11 Cases identified on Schedule 1

to the Proposed Order (collectively, the “Subsidiary Cases,” and the related Debtors, the

“Subsidiary Debtors”), so that only the Chapter 11 Case of the Lead Debtor (i.e., CM Wind

Down Topco Inc., f/k/a Cumulus Media Inc.) remains open. As noted above, other than the

Remaining Matters which can be administered and resolved at the Lead Debtor in the Lead Case,




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the Subsidiary Cases are fully administered within the meaning of the applicable rules and

statute, and can be closed.

                                     Basis for Relief Requested

       18.      Section 105(a) of the Bankruptcy Code provides a bankruptcy court with broad

powers in the administration of a case under title 11. Section 105(a) of the Bankruptcy Code

provides that “[t]he court may issue any order, process, or judgment that is necessary or

appropriate to carry out the provisions of this title” and further that “no provision of this title

shall be construed to preclude the court from . . . taking any action or making any determination

necessary or appropriate to enforce or implement court orders or rules.” 11 U.S.C. § 105(a).

See, e.g., Law v. Siegel, 134 S. Ct. 1188 (2014); Adelphia Bus. Solutions, Inc. v. Abnos, 482 F.3d

602, 609 (2d Cir. 2007) (recognizing a bankruptcy court’s broad discretion pursuant to section

105(a) to do what is necessary to meet the circumstances of a case).

       19.      This provision authorizes the Court to consolidate the administration of the

Remaining Matters at the Lead Debtor and in the Lead Case. Resolving these matters in this

manner effectuates the Plan and reflects the practical effects of the Restructuring Transactions

and the Debtors’ emergence from Chapter 11. Moreover, no creditors or stakeholders will be

adversely affected because all of their rights and Claims will be preserved at the Lead Debtor in

the Lead Case, including any bar dates or other applicable deadlines. Finally, with respect to the

change of caption of the Lead Case, Bankruptcy Rule 1005 and Local Rule 9004-2 detail the

information required to be contained in the caption of all bankruptcy court filings, which

information includes the names of the debtor(s). The change of the caption in the Lead Case to

reflect the actual corporate post-emergence name of the Lead Debtor complies with these

requirements.


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         20.    Once the Remaining Matters are consolidated in the Lead Case as discussed

above, the Reorganized Debtors seek entry of a final decree closing each of the Subsidiary

Cases.    Section 350(a) of the Bankruptcy Code provides that “[a]fter an estate is fully

administered and the court has discharged the trustee, the court shall close the case.” 11 U.S.C. §

350(a). Bankruptcy Rule 3022, which implements section 350 of the Bankruptcy Code, further

provides that “[a]fter an estate is fully administered in a chapter 11 reorganization case, the

court, on its own motion or on motion of a party in interest, shall enter a final decree closing the

case.” Fed. R. Bankr. P. 3022.

         21.    Although neither the Bankruptcy Court not the Bankruptcy Rules define “fully

administered,” the Advisory Committee Note to Bankruptcy Rule 3022 sets forth the following

non-exclusive factors to be considered in determining whether a case has been fully

administered:

                a.      whether the order confirming the plan has become final;

                b.      whether deposits required by the plan have been distributed;

                c.      whether the property proposed by the plan to be transferred has been
                        transferred;

                d.      whether the debtor [or its successor] has assumed the business or
                        management of the property dealt with by the plan;

                e.      whether payments under the plan have commenced; and

                f.      whether all motions, contested matters, and adversary proceedings have
                        been finally resolved.

1991 Advisory Comm. Note to Fed. R. Bankr. P. 3022 (the “Advisory Committee Note”).

         22.    Courts have adopted the view that “these factors are but a guide in determining

whether a case has been fully administered, and not all factors need to be present before the case

is closed.” In re SLI, Inc., No. 02-12608 (WS), 2005 WL 1668396, at *2 (Bankr. D. Del. June

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24, 2005) (citing In re Mold Makers, Inc., 124 B.R. 766, 768–69 (Bankr. N.D. Ill. 1990)); see

also In re AOG Entertainment, Inc., 569 B.R. 563, 585 (Bankr. S.D.N.Y. 2017); In re Aquatic

Dev. Group, Inc., 352 F.3d 671, 676 (2d Cir. 2003); In re Kliegl Bros. Universal Elec. Stage

Lighting Co., Inc., 238 B.R. 531, 542 (Bankr. E.D.N.Y. 1999) (noting that the factors are non-

exclusive and are “plainly an aid or checklist that serves to insure that there is no unfinished

business before the Court or in the case”).

       23.      In addition to the factors set forth in the Advisory Committee Note, in

determining whether to issue a final decree, courts have considered whether the plan of

reorganization has been substantially consummated. In re Johnson, 402 B.R. 851, 856 (Bankr.

N.D. Ind. 2009) (considering substantial consummation as a factor in determining whether to

close a case); In re Gates Cmty. Chapel of Rochester, Inc., 212 B.R. 220, 224 (Bankr. W.D.N.Y.

1997) (same).

       24.      The Subsidiary Cases have been “fully administered” within the meaning of

section 350 of the Bankruptcy Code. The Plan has been substantially consummated within the

meaning of section 1101(2) of the Bankruptcy Code, making it appropriate for the Court to enter

a final decree closing the Subsidiary Cases. Among other things: (a) the Confirmation Order

has become final and non-appealable; (b) the Debtors have emerged from chapter 11 as

reorganized entities; (c) all property proposed to be transferred under the Plan has been

transferred; (d) on and after the Effective Date, the Reorganized Debtors assumed the business

and management of the property dealt with by the Plan; (e) but for any distributions, payments or

disbursements to be made on account of the Remaining Matters, the distributions and

disbursements required by the Plan have been substantially completed; (f) no payments will need

to be made by the Subsidiary Debtors on account of Allowed Claims in their cases because all

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such payments will be made by the Disbursing Agent in the Lead Case, or alternatively, by the

Reorganized Debtors as permitted under the Plan; and (g) there are no open adversary

proceedings or contested matters pending before the Court in the Subsidiary Cases.

         25.   Closing the Subsidiary Cases will benefit the estates and the Court by reducing

the costs and burdens attendant to administering and keeping open the Subsidiary Debtors’

Cases. Pursuant to section 350(b) of the Bankruptcy Code, the Court retains jurisdiction to

reopen any of the Subsidiary Cases for further administration in the unlikely event that the need

to do so arises. The relief sought herein will not prejudice any other party in interest.

         26.   In addition, to the extent not already paid, the Disbursing Agent on behalf of the

Lead Debtor will pay all required United States Trustee fees with respect to the Subsidiary Cases

as soon as practicable after the date of entry of the Proposed Order. Pursuant to Local Rule

3022-1, a closing report concerning the Subsidiary Cases is attached hereto as Exhibit B.

                                             NOTICE

         27.   Notice of this Motion will be provided to the Core Parties as defined and set forth

in the Order Pursuant to 11 U.S.C. §105(a) and Fed. R. Bankr. P. 1015(c), 2002(m), and 9007

Implementing Certain Notice and Case Management Procedures [ECF No. 73].                          The

Reorganized Debtors submit that, in view of the facts and circumstances, such notice is sufficient

and no other or further notice need be provided.

                                     NO PRIOR REQUEST

         28.   No prior request for the relief sought herein has been made to this or any other

court.


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                                         CONCLUSION

       WHEREFORE, for the reasons set forth herein, the Reorganized Debtors respectfully

request that the Court (a) grant the Motion and enter the Proposed Order and (b) grant such other

and further relief as may be just and proper.

Dated: June 25, 2018
New York, New York
                                                PAUL, WEISS, RIFKIND, WHARTON
                                                & GARRISON LLP


                                                /s/ Paul M. Basta
                                                Paul M. Basta
                                                Lewis R. Clayton
                                                Jacob A. Adlerstein
                                                Claudia R. Tobler

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                                                Counsel for the Reorganized Debtors
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                                        Exhibit A

                                  Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:                                                          :     Chapter 11
                                                                :
CUMULUS MEDIA INC., et al.,                                     :     Case No. 17-13381 (SCC)
                                                                :
                  Reorganized Debtors. 1                        :     (Jointly Administered)
                                                                :
                                                                :
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         ORDER (I) CHANGING THE CASE CAPTION OF THE LEAD CASE;
       (II) CONSOLIDATING THE ADMINISTRATION OF THE REMAINING
    MATTERS AT THE LEAD CASE; (III) ENTERING A FINAL DECREE CLOSING
        THE SUBSIDIARY CASES; AND (IV) GRANTING RELATED RELIEF

        Upon the motion (the “Motion”) 2 of Cumulus Media Inc. (n/k/a CM Wind Down Topco

Inc.) and its affiliates in the above-captioned chapter 11 cases (collectively, the “Debtors” and, as

reorganized on and after June 4, 2018, the “Reorganized Debtors”) for entry of an order (this

“Order”), pursuant to sections 105(a) and 350(a) of title 11 of the United States Code (the

“Bankruptcy Code”), Rule 3022 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Rule 3022-1 of the Local Bankruptcy Rules for the Southern District of New York

(the “Local Rules”), authorizing (i) changing the case caption of the Lead Case to CM Wind

Down Topco Inc.; (ii) consolidating the administration of the Outstanding Claims and other

Remaining Matters at the Lead Debtor in the Lead Case; (iii) entering a final decree closing the

Subsidiary Cases; and (iv) granting related relief, all as more fully set forth in the Motion; and


1
    The last four digits of Cumulus Media Inc.’s (n/k/a CM Wind Down Topco Inc.) tax identification number are
    9663. Due to the large number of Reorganized Debtors in these Chapter 11 cases, for which the Reorganized
    Debtors have been granted joint administration, a complete list of the Reorganized Debtors and the last four
    digits of their federal tax identification numbers is not provided herein. A complete list of such information
    may be obtained on the website of the Voting and Claims Agent at http://dm.epiq11.com/cumulus. The location
    of the Reorganized Debtors’ service address is: 3280 Peachtree Road, N.W., Suite 2200, Atlanta, Georgia
    30305.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Standing Order of Reference from the United States District Court for the Southern District of

New York, dated January 31, 2012; and this Court having found that it may enter a final order

consistent with Article III of the United States Constitution; and this Court having found that the

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and consideration of the Motion and the requested relief being a core proceeding

pursuant to 28 U.S.C. § 157(b); and this Court having found that the notice of the Motion and

opportunity for a hearing thereon were appropriate under the circumstances and no other notice

need be provided; and this Court having reviewed the Motion; and this Court having determined

that the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Motion is granted as set forth herein.

        2.       Upon entry of this Order, the caption for the Lead Case shall be changed as

follows:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:                                                          :   Chapter 11
                                                                :
CM WIND DOWN TOPCO INC.                                         :
                                                                :   Case No. 17-13381 (SCC)
                                                                :
                  Reorganized Debtor.1                          :
                                                                :
----------------------------------------------------------------x
FN 1: The last four digits of the Reorganized Debtor’s tax identification number is 9663. The location of the
Reorganized Debtor’s service address is: 3280 Peachtree Road, N.W., Suite 2200, Atlanta, Georgia 30305.




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       3.      The Clerk and other relevant parties are authorized and shall take the actions

necessary to update the ECF filing system and their respective records to reflect Cumulus Media

Inc.’s corporate name change to CM Wind Down Topco Inc., including the insertion of a docket

entry in Cumulus Media Inc.’s Chapter 11 Case as follows:

       “An order has been entered in this case directing that the caption of this case be changed
       in accordance with the corporate name change of Cumulus Media Inc. to CM Wind
       Down Topco Inc.”

       4.      The Remaining Matters, including the Outstanding Claims, shall be consolidated

and transferred to the Lead Case for administration and resolution by the Lead Debtor, including

the making or directing of any and all remaining distributions or payments on account of such

Remaining Matters. The Reorganized Debtors are authorized to appoint CM Emergence Newco

Inc. (n/k/a Cumulus Media Inc.) or any of its subsidiaries as the Disbursing Agent for purposes

of effecting distributions and payments on account of the Remaining Matters and other matters in

the Lead Case or on behalf of the Lead Debtor. All bar dates and other deadlines applicable in

the Chapter 11 Cases to the Remaining Matters shall continue to apply to the Remaining Matters

as if the Remaining Matters had not been consolidated at the Lead Debtor or in the Lead Case

and are unaffected by this Order.

       5.      Pursuant to section 350(a) of the Bankruptcy Code, Bankruptcy Rule 3022, and

Local Rule 3022-1, the Chapter 11 Cases listed on Schedule 1 attached hereto (the “Subsidiary

Cases”) are hereby closed effective as of the date of entry of this Order.

       6.      The Court retains jurisdiction as provided in the Plan, and the entry of the final

decrees as provided herein is without prejudice to the rights of any party in interest to seek to

reopen the Subsidiary Cases for cause shown.




                                                 3
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       7.      Upon entry of this Order, the Lead Case shall be the only Chapter 11 Case open

for the remaining administration, distribution and Claims reconciliation purposes, and the other

Remaining Matters, under the Plan.

       8.      To the extent not already paid, the fees required to be paid to the United States

Trustee pursuant to 28 U.S.C. § 1930(a) with respect to the Subsidiary Cases shall be paid by the

Disbursing Agent on behalf of the Lead Debtor as soon as reasonably practicable after the date of

entry of this Order. The Reorganized Debtors shall not be obligated to pay any fees to the

United States Trustee with respect to the Subsidiary Cases for any period after July 1, 2018.

       9.      The Clerk shall enter this Order individually on each of the dockets of the

Subsidiary Cases and thereafter such dockets shall be marked as “Closed”.

       10.     The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.

       11.     The Reorganized Debtors are authorized to take all actions necessary to carry out

the relief granted in this Order in accordance with the Motion.

       12.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

New York, New York
Dated: ____________, 2018

                                          THE HONORABLE SHELLEY C. CHAPMAN
                                          UNITED STATES BANKRUPTCY JUDGE




                                                   4
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                                        Schedule 1

                                  Subsidiary Cases
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                                    Debtor                  Case Number
               NY Radio Assets, LLC                          17-13379
               Westwood One, Inc.                            17-13380
               Cumulus Media Holdings Inc.                   17-13382
               Cumulus Intermediate Holdings Inc.            17-13383
               Cumulus Broadcasting LLC                      17-13384
               Consolidated IP Company LLC                   17-13385
               CMP Susquehanna Radio Holdings Corp.          17-13386
               CMP KC Corp.                                  17-13387
               CMP Susquehanna Corp.                         17-13388
               Chicago Radio Assets, LLC                     17-13389
               Atlanta Radio, LLC                            17-13390
               Chicago FM Radio Assets, LLC                  17-13391
               Broadcast Software International              17-13392
               Catalyst Media, Inc.                          17-13393
               CMI Receivables Funding LLC                   17-13394
               Cumulus Network Holdings Inc.                 17-13395
               Cumulus Radio Corporation                     17-13396
               DC Radio Assets, LLC                          17-13397
               Detroit Radio, LLC                            17-13398
               Dial Communications Global Media, LLC         17-13399
               IncentRev-Radio Half Off, LLC                 17-13400
               IncentRev LLC                                 17-13401
               KLIF Broadcasting, Inc.                       17-13402
               KLOS-FM Radio Assets, LLC                     17-13403
               LA Radio, LLC                                 17-13404
               Minneapolis Radio Assets, LLC                 17-13405
               Radio Assets, LLC                             17-13406
               Radio Metroplex, Inc.                         17-13407
               Radio Networks, LLC                           17-13408
               San Francisco Radio Assets, LLC               17-13409
               Susquehanna Media Co.                         17-13410
               Susquehanna Pfaltzgraff Co.                   17-13411
               Susquehanna Radio Corp.                       17-13412
               WBAP - KSCS Assets, LLC                       17-13413
               Westwood One Radio Networks, Inc.             17-13414
               WPLJ Radio, LLC                               17-13415
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                                        Exhibit B

                                   Closing Report
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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   ----------------------------------------------------------------x
   In re:                                                          :       Chapter 11
                                                                   :
   CUMULUS MEDIA INC., et al.,                                     :       Case No. 17-13381 (SCC)
                                                                   :
                     Reorganized Debtors. 1                        :       (Jointly Administered)
                                                                   :
                                                                   :
   ----------------------------------------------------------------x

                     CLOSING REPORT FOR SUBSIDIARY DEBTORS
                    PURSUANT TO LOCAL BANKRUPTCY RULE 3022-1

   To the best of my knowledge and belief, the following is a breakdown of the
   disbursements made in this case: 2

   FEES AND EXPENSES (from case inception):

   N/A        FEE for ATTORNEY for DEBTOR 3

   N/A        OTHER PROFESSIONAL FEES and ALL EXPENSES 4

   _____________________________________________________________________

   1
       The last four digits of Cumulus Media Inc.’s tax identification number are 9663. Due to the large
       number of Reorganized Debtors in these Chapter 11 cases, for which the Reorganized Debtors have
       been granted joint administration, a complete list of the Reorganized Debtors and the last four digits of
       their federal tax identification numbers is not provided herein. A complete list of such information
       may be obtained on the website of the Voting and Claims Agent at http://dm.epiq11.com/cumulus.
       The location of the Reorganized Debtors’ service address is: 3280 Peachtree Road, N.W., Suite 2200,
       Atlanta, Georgia 30305.
   2
       This Closing Report has been prepared for the purpose of obtaining a final decree in the Chapter 11
       Cases of the Reorganized Debtors identified on Schedule 1 hereto. Pursuant to the Order Pursuant to
       Fed. R. Bankr. P. 1015(b) Directing Joint Administration of Related Chapter 11 Cases [ECF No. 40]
       the Reorganized Debtors are reporting disbursements on an aggregate and consolidated basis in the
       Chapter 11 Case of the Lead Debtor, In re Cumulus Media Inc., Case No. 17-13381. The Lead Debtor
       will file a separate case closing report detailing such disbursements when it moves for entry of a final
       decree pursuant to section 350 of the Bankruptcy Code. Capitalized terms used but not defined herein
       shall have the meanings ascribed to them in the First Amended Joint Plan of Reorganization of
       Cumulus Media Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (the
       “Plan”) [ECF No. 446] or the Motion that this Exhibit is attached to.
   3
       See supra note 2. Fees and expenses for attorneys for all of the Debtors will be reported when the
       Lead Case is closed.
   4
       See supra note 2. Fees and expenses for all other estate professionals will be reported when the Lead
       Case is closed.
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   N/A       TRUSTEE FEE (if applicable)

   N/A       FEE for ATTORNEY for TRUSTEE (if applicable)

   _____________________________________________________________________

   N/A       % DIVIDEND PAID/TO BE PAID

   ☒ FUTURE DIVIDENDS (check if % of future dividend under plan not yet
                                  able to be determined)
   ______________________________________________________________________

   ☒ INITIAL DISTRIBUTION UNDER THE PLAN COMPLETED 5

   __________ OTHER: (explain)

   ______________________________________________________________________

   DATE: New York, New York
        June 25, 2018

                                                               CUMULUS MEDIA INC.

                                                             By: /s/ Richard Denning
                                                             Name: Richard Denning
                                                             Title: Senior Vice President, General
                                                                    Counsel, and Secretary




   5
       On or about the Effective Date, the Reorganized Debtors made the distributions required under the
       Plan.
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                                        Schedule 1

                                  Subsidiary Cases
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                                    Debtor                  Case Number
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               Detroit Radio, LLC                            17-13398
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               Radio Assets, LLC                             17-13406
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